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                                             UNITED STATES DISTRICT COURT
                                                DISTRICT OF MINNESOTA




JUSTIN GIRDNER,                                                                                 Case No. 17‐CV‐4456 (PJS/BRT)

                        Plaintiff,

v.                                                                                              ORDER OF DISMISSAL

WELLS FARGO BANK, N.A., 

                        Defendant.
                                                                                                                                                             

            Based upon the Stipulation for Dismissal filed by the parties on 

November 3, 2017 [ECF No. 15],

            IT IS ORDERED that this action is dismissed without prejudice and without costs

or disbursements to any party. 




Dated: November 6, 2017                                                             s/Patrick J. Schiltz                                     
                                                                                    Patrick J. Schiltz
                                                                                    United States District Judge 
